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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MARYLAND



HARLEYVILLE WORCHESTER
INSURANCE COMPANY a/s/o BARBARA
FORD

     Plaintiff
                                             Case No.: 1:20-cv-00802-RDB
v.

AIR VENT, INC., et al.,

     Defendants




 MEMORANDUM IN OPPOSITION OF DEFENDANT POWERMAX ELECTRICAL
 CO. LTD’S MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
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                                    I.         STATEMENT OF FACTS

       This memorandum of law is issued in opposition to Defendant Powermax’s motion to dismiss

based off of ostensible F.R.C.P. 12(b)(2) concerns. Plaintiff Harleysville Worcester Insurance

Company acts in the instant litigation as subrogee of Ms. Barbara Ford, a Maryland Resident. Along

with Defendant Powermax, Plaintiff has sued Defendants Air Vent, Inc., Direct Marketing Asia, and

King of Fans.

       On January 23, 2018, the home of Plaintiff’s insured, Ms. Barbara Ford, caught fire and

suffered significant damages. The fire was caused due to a defect in one of the APGH fan motors

housed in Ms. Ford’s attic. The subject motor was designed and manufactured by Defendant

Powermax and placed as a component part into an attic-ventilation fan manufactured and sold by

Defendant Air Vent, Inc.

       Defendant Powermax is a Chinese business which designs and manufactures electronic

components, including the subject fan motor. It comprises a joint venture with its co-defendants,

King of Fans and Direct Marketing Asia. Though it often sells its products to Direct Marketing Asia,

who then resells these products to American companies and consumers, it has sold nearly 100,000 of

the subject motors to Defendant Air Vent, Inc. directly. All of its products are shipped internationally

from its own warehouse, and its customer-facing communications clearly indicate that it caters to an

American market.

                                         II.    ARGUMENT

       A. Legal Standard

       Defendant Powermax’s motion to dismiss is governed by Federal Rule of Civil Procedure

12(b)(2), which concerns “lack of personal jurisdiction.” When this rule is invoked, “the jurisdictional

question thus raised is one for the judge, with the burden on the plaintiff ultimately to prove the

existence of a ground for jurisdiction by a preponderance of the evidence.” Combs v. Bakker, 886 F.2d
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673, 676 (4th Cir.1989). However, Plaintiff’s burden of proof is herein alleviated on two accounts. First,

because the Court has not conducted “an evidentiary hearing or [has not] deffer[ed] ruling pending

receipt at trial of evidence relevant to the jurisdictional issue, but rather relies on the complaint and

affidavits alone, ‘the burden on the plaintiff is simply to make a prima facie showing of a sufficient

jurisdictional basis in order to survive the jurisdictional challenge.’” Owens-Ill., Inc. v. Rapid Am. Corp.

(In re Celotex Corp.), 124 F.3d 619, 629 (4th Cir.1997) (quoting Combs, 886 F.2d at 676). Second, “In

considering a challenge on such a record, the court must construe all relevant pleading allegations in

the light most favorable to the plaintiff, assume credibility, and draw the most favorable inferences

for the existence of jurisdiction.” Combs, 886 F.2d at 676

        B. This Court Possesses Specific Jurisdiction Over Defendant Powermax

        In its motion to dismiss, Defendant Powermax asserts an ostensible lack of personal

jurisdiction for want of sufficient minimum contacts with the forum state. This requirement, cited by

Defendant Powermax, is one that finds its footing in judicial fairness. International Shoe Co. v. Wash, 326

U.S. 310, 316 (1945) (“[A defendant] must have certain minimum contacts with [the forum state] that

maintenance of the suit does not offend traditional notions of fair play and substantial justice.”). Yet,

fairness in this matter cuts both ways, and “[W]here individuals ‘purposefully derive benefit’ from

their interstate activities, it may well be unfair to allow them to escape having to account in other

States for consequences that arise proximately from such activities; the Due Process Clause cannot be

wielded as a territorial shield to avoid interstate obligations that have been voluntarily assumed.” Burger

King Corp. v. Rudzewicz¸471 U.S. 462, 473-74 (1985) (quoting Keeton v. Hustler Magazine, Inc., 465 U.S.

770, 776 (1984)). “[Focusing on the defendant’s in-state contacts] follows from the touchstone

principle of due process in this field, the concept of reciprocal fairness. When a corporation chooses

to invoke the benefits and protections of a State in which it operates, the State acquires the authority

to subject the company to suit in its courts.” Daimler AG v. Bauman, 571 U.S. 117, 151 (2014)
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(Sotomayor, J., concurring). Defendant Powermax intentionally sought to benefit from the Maryland

economic market and, therefore, must be found to fall under the ambit of this Court’s jurisdiction.

        Regarding questions of specific jurisdiction over claims of products liability, “The principal

inquiry in cases of this sort is whether the defendant’s activities manifest an intention to submit to the

power of a sovereign.” J. McIntyre Machinery, Ltd. v. Nicastro, 546 U.S. 873, 882 (2011). When

deliberating on whether such an intention has been manifested, “it is essential in each case that there

be some act by which the defendant purposefully avails itself of the privilege of conducting activities

within the forum State, thus invoking the benefits and protections of its laws.” Hanson v. Denckla, 357

U.S. 235, 253 (1958). “The purposeful availment inquiry asks whether a defendant has ‘deliberately

target[ed]’ its behavior toward the society or economy of a particular forum [such that] the forum

should have the power to subject the defendant to judgment regarding that behavior.” Baskin-Robbins

Franchising LLC v. Alpenrose Dairy, Inc., 825 F.3d 28, 36 (1st Cir.2011) (quoting Carreras v. PMG Collins,

LLC, 660 F.3d 549, 555 (1st Cir. 2011)).

        To establish minimum contacts, the defendant’s relation to the forum state cannot be solely

“solely as a result of ‘random,’ ‘fortuitous,’ or ‘attenuated’ contacts, or of the ‘unilateral activity of

another party or a third person.’” Burger King, 471 U.S. at 473-74. Rather, the contacts must

“proximately result from actions by the defendant himself that create a ‘substantial connection’ with

the forum State.” Id. In Ford Motor Co. v. Mont. Eighth Jud. Dist. Ct., 141 S.Ct. 1017 (2021), the Supreme

Court found that Ford Automotive had sufficient contacts in two jurisdictions in which it was not

domiciled because it had “actively sought to serve the market for automobiles and related products in

those States.”

        The Ford Court further held that a product which malfunctions in the forum state, even if it

had not been manufactured there, establishes a sufficient minimum contact for specific jurisdiction

over the defendant. Similarly, just as Defendant Powermax manufactured and sold its motors from its
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principal place of business in Guangdong, China, its connections with the forum state, explicated

below, warrant personal jurisdiction due to the fact that the product malfunctioned in Maryland and

that Defendant Powermax sought to avail itself of the commercial market in that state.

        Despite what Defendant Powermax claims, it has purposefully and intentionally cultivated a

market for its products in the State of Maryland. Firstly, the facts of the instant case have already been

litigated in near-identical fashion in the Superior Court of Arizona. (See Exhibit 1: Minute Entry of

the Superior Court of Arizona, Maricopa County). There, the Court found jurisdiction based off of

several salient facts. It noted that “Powermax is a joint venture with Cross-Defendant King of Fans

(“KOF”), Chien Luen and Direct Marketing Asia, Ltd (“DMA”). (Exhibit 1) Defendant Powermax

affirms this characterization itself, stating on its website that it is “an export-oriented Sino-foreign

joint venture company” (Exhibit 2: Powermax Website: About) and referring to “The US KOF

company” as a “shareholder company.” (Exhibit 3: Powermax Website: News). Defendant Powermax

claims that it did not purposefully target the United States market because the subject motor had first

been sold to Defendant Direct Marketing Asia, who then sold it to Defendant King of Fans. However,

the subject motor’s arrival into the United States market was not mere fortuity but obviously an

organized and concerted effort between joint-venture partners to reach American consumers.

        Moreover, according to the facts deliberated by the Arizona Superior Court, Defendant

Powermax overstates Defendant Direct Marketing Asia’s role as intermediary. While Defendant

Direct Marketing Asia typically facilitates orders for Defendant Powermax’s products, Defendant

Powermax often directs sales itself. The Arizona Court found that “From 2003-11, Powermax

periodically sent invoices directly to [Defendant] AVI 1 for fan motors manufactured by Powermax

for AVI. At least 91,354 Powermax fan motors were invoiced directly from Powermax to AVI.”

(Maricopa). Defendant Direct Marketing Asia, a company with no manufacturing capabilities or


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            “AVI” refers to Defendant Air Vent, Inc.
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engineering expertise, purchases all its fan motors exclusively from Defendant Powermax. Additionally,

“All Powermax motors… were shipped directly to AVI from the Powermax facility in Guangdong,

China.” (Exhibit 1). The Supreme Court has noted that “a defendant’s awareness that the stream of

commerce may or will sweep the product into the forum state does not convert the mere act of placing

the product into the stream into an act purposefully directed at the forum state.” Asahi Metal Indus.

Co. v. Superior Ct. of Cal., 480 U.S.S 102, 112 (1987) (O’Connor, J., concurring). However, in the same

breath, it is provided that “marketing the product through a distributor who has agreed to serve as the

sales agent in the forum State,” Id., itself is likely to constitute such a purposeful act. In its arrangement

with Defendant Powermax, Defendant Direct Marketing Asia merely operated as an arm of the

former’s commercial interests, and the results thereof constitute a minimum contact on which specific

jurisdiction may be found.

        Defendant Powermax has also applied for and obtained a United Labs US standard

certification. United Labs is a non-governmental, third-party safety appraiser. Its trademark

certification is highly respected and sought out by entities wishing to sell their products in the United

States, as it signifies a certain threshold of quality and safety. Defendant Powermax’s actions in this

matter demonstrate that it is intentionally attempting to entreat the American consumer to purchase

its products. Rather than simply finding a foothold in the American market by happenstance, it has

actively and continuously attempted to avail itself of economic opportunities in the Maryland and the

other U.S. states through the use of American trademarks and the efforts of other the entities with

which it comprises its joint venture.

        Lastly, according to Defendant Powermax’s website, “100% of products of the company are

exported to USA, Canada, Europe, South America etc.” This means that, though Defendant

Powermax is domiciled in Guangdong, China, it would only expect to be held in account for any injury

or harm resulting from its products in foreign jurisdictions. Defendant Powermax would reasonably
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be expected for such accountability to warrant from this Court. Not only does Defendant Powermax

boast that it holds a 10% market share for decorative fans in the United States (Exhibit 2), but it also

positions itself to its customers as American-centric, as evidenced by the fact that its helpline is

available “between the hours of 8:30 am and 5:00 pm Eastern Standard Time. (Exhibit 4: Powermax

Website: FAQ).


                    III.        CONCLUSION AND RELIEF REQUESTED

        Defendant Powermax’s claim that this Court does not possess jurisdiction over it in this matter

belies the facts at hand and is a naked attempt to elude liability for products it should have reasonably

foreseen being held to account for in this jurisdiction. Through its business dealings with its partners

in its joint venture, Defendants King of Fans and Direct Marketing Asia, Defendant Powermax

purposefully availed itself of the benefits of the commercial market and consumers of Maryland and

the notions of fair play and substantial justice require that its motion to dismiss for lack of personal

jurisdiction be denied.

                                                Respectfully submitted,

                                                DUGAN, BRINKMANN, MAGINNIS and PACE



                                                /s/Mark C. Cavanaugh
                                                Mark C. Cavanaugh, Esquire
                                                Attorney for Plaintiff
